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10                                    UNITED STATES DISTRICT COURT

11                                   NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        ) CASE NO. 17-CR-533-EMC
14                                                    )
              Plaintiff,                              ) Notice
15                                                    )
         v.                                           )
16                                                    )
     JONATHAN JOSEPH NELSON et al,                    )
17                                                    )
              Defendants.                             )
18                                                    )

19
              The United States respectfully submits the Declaration of Jeremy Scheetz, along with the
20
     Declaration’s supporting exhibits.
21
     DATED: June 29, 2020                                        Respectfully submitted,
22
                                                                 DAVID L. ANDERSON
23                                                               United States Attorney
24

25                                                               ____/s/ Ajay Krishnamurthy___________
                                                                 AJAY KRISHNAMURTHY
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     Declaration of Jeremy Scheetz
     17-CR-533-EMC
